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3                                   IN THE UNITED STATES DISTRICT COURT

4                                      EASTERN DISTRICT OF CALIFORNIA

5

6    UNITED STATES OF AMERICA,                              CASE NO. 1:18-CR-00207 DAD

7                                  Plaintiff,               ORDER ALLOWING DEFENDANTS’
                                                            APPEARANCE ON STATE OF CALIFORNIA WRIT
8                            v.                             FOR HABEAS CORPUS AD PROSEQUENDUM IN
                                                            THE CUSTODY OF DEPUTIES OF THE FRESNO
9    DENIS BARRERA PALMA,                                   COUNTY SHERIFF’S OFFICE OR ITS AGENTS
     EVER MEMBRENO,
10   DENIS RODOLFO ALFARO-TORRES,

11                                Defendants.

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13           On September 11, 2018, the Honorable Arlan Harrell, a Superior Court Judge for the State of

14   California, County of Fresno, requested that the body of the above-named defendants be produced in Fresno

15   County Superior Court for further proceedings in the case of People v. Denis Barrera Palma, F18904667 and

16   F18906010; People v.Denis Rodolfo Alfaro-Torres, F18905979; and People v. Ever Membreno, F18906010

17   may proceed. The defendants’ appearance before the state court judge is necessary on September 27, 2018 at

18   8:30 a.m. for a status hearing. The defendants are currently in the custody of the United States Marshal,

19   charged in the above-entitled action, housed at the Fresno County Jail. Their next appearance before the

20   United States District Court is scheduled for September 24, 2018 at 1:00 p.m. for a status conference. It

21   appearing that the defendants need to be present for a hearing in the state actions, and that the next court

22   appearance in the above-entitled case will be on September 24, 2018:

23           IT IS HEREBY ORDERED that deputies of the Fresno County Sheriff’s Office or their designee

24   may produce the defendants in Fresno County Superior court on September 27, 2018 for purposes of their

25   presence at the preliminary hearing, but shall return defendants to the custody of the United States Marshal

26   Service in the physical custody of Fresno County Jail immediately after the proceeding has concluded on

27   September 27, 2018. The Court further orders that the Fresno County Sheriff’s Office or their designated

28   agents can produce the defendants for future state court proceedings with their return immediately thereafter

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1    after the U.S. Marshal Service and the Fresno County Sheriff’s Office confirms with an Assistant U.S.

2    Attorney that no state court appearance conflicts with any federal court appearance. Defendants are not to

3    be released for state court appearances unless in the custody of the Fresno County Sheriff’s Office or

4    their designated agents. Under no circumstances is any named defendant to be released from the physical

5    custody of the Fresno County Jail other than for the court appearances that are the subject of this Order or

6    scheduled Federal Court Appearances, or upon further order from this court.

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8    IT IS SO ORDERED.
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        Dated:     September 17, 2018                           /s/ Barbara A. McAuliffe                _
10                                                       UNITED STATES MAGISTRATE JUDGE
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